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16
                                   UNITED STATES DISTRICT COURT
17
                                  NORTHERN DISTRICT OF CALIFORNIA
18
     Steven Robert Singleton, Samantha Jenkins,         Case No.: 3:18-cv-01955-VC
19   Nicholle Vannucci, Ellen Brown and
     Deborah Drake, individuals; and Homeless           NOTICE OF MOTION and EX PARTE
20   Action!, an unincorporated association,            MOTION FOR A TEMPORARY
                                                        RESTRAINING ORDER AND ORDER
21                  Plaintiffs,                         TO SHOW CAUSE WHY A
            v.                                          PRELIMINARY INJUNCTION SHOULD
22                                                      NOT ISSUE
     County of Sonoma, Sonoma County
23   Community Development Commission, City
     of Santa Rosa, Does 1 to XX,
24
                    Defendants.
25

26

27                  TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

28          PLEASE TAKE NOTICE that on March 30, 2018 Plaintiffs Steven Robert Singleton,

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     Ntc. Of Mtn. and Mtn for TRO and OSC                      Case No.: 3:18-cv-01955-VC
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 1   Nicholle Vannucci, Ellen Brown, Deborah Drake, Samantha Jenkins and Homeless Action!
 2   (plaintiffs”) hereby move this court, and seek immediate review pursuant to Rule 65 of the
 3   Federal Rules of Civil Procedure, of their motion for a temporary restraining order enjoining and
 4   restraining Defendants Sonoma County, Sonoma County Community Development Commission
 5   and City of Santa Rosa (“Defendants”), and all persons acting in concert with it or under its
 6   direction, from:
 7          1.      Enforcing the Notice to Vacate Illegal Campsite/Lodging on Plaintiffs and all
 8   others residing in the Roseland Encampments, homeless encampments located at located at 665 to
 9   883 Sebastopol Road in the City of Santa Rosa issued on March 7, 2018 until such time as the
10   Court determines that Defendants have provided sufficient and appropriate shelter placements to
11   residents of the Roseland Encampments, including placements that meet the disability-related
12   needs of Roseland Encampments residents with disabilities.
13          2.      Seizing and disposing of Roseland Encampments residents’ property in violation
14   of their Fourth and Fourteenth amendment rights; and
15          3.      Citing or arresting individuals at the Roseland site for violation of the Santa Rosa
16   City Code Sec. 11-22-.30; California Penal Code Sec. 647(e) and California Penal Code Sec. 602
17          Plaintiffs further move this Court for an order directing Defendants to show cause at a
18   time and date why it should not be preliminarily enjoined and restrained as set forth above.
19   This motion is made on the following grounds: (1) Plaintiffs are likely to prevail on the merits of
20   the action, or at the least, have raised serious Constitutional questions as to Defendants’
21   threatened conduct; (2) in the absence of injunctive relief, Plaintiffs will suffer irreparable injury;
22   (3) the balance of hardships tip sharply in Plaintiffs’ favor; and (4) the public interest would be
23   served by issuance of the temporary restraining order.
24          This motion is based upon this notice and motion, the Plaintiffs’ Complaint, the
25   Memorandum of Points & Authorities in Support of Plaintiffs’ Motion for Temporary Restraining
26   Order, the declarations and exhibits submitted in support of the motion, and such other matters as
27   the Court may properly consider. Hearing on this motion, if any, shall be at such date and time as
28   may be ordered by United States District Court Judge Vince Chhabria, to whom this case is

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     Ntc. Of Mtn. and Mtn for TRO and OSC                           Case No.: 3:18-cv-01955-VC
         Case 3:18-cv-01955-VC Document 9 Filed 03/31/18 Page 3 of 3



 1   assigned.
 2
     Dated: March 30, 2018          CALIFORNIA RURAL LEGAL ASSISTANCE, INC.
 3
                                    PUBLIC INTEREST LAW PROJECT
 4                                  LAW OFFICE OF ALICIA ROMAN
                                    By:__\s\ JEFFERY HOFFMAN____________
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     Ntc. Of Mtn. and Mtn for TRO and OSC                Case No.: 3:18-cv-01955-VC
